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                   THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS



Lead Plaintiff Victor A. Martignetti, along with David
G. Albert, Keith Albert, Asif Ali, Steven S. Allen,
Carlos Aquino, Antonio J. Arcos, David A. Atherton,
Angel E. Barbosa, David Barkhouse, Paul Bentubo,
Reynaldo A. Benzan, Stephen E. Bikofsky, Donald
B. Bombino, Michael Bonilla, Christopher J. Borum,
Brian P. Branley, Kevin F. Branley, Devon G.
Brooks, James M. Brown, Richard Brown, Paul
Burke, Steven Burke, Daniel P. Burroso, Eugene M.
Bustillo, Joshua Buxbaum, Oral J. Bynoe, Jarred
Cabral, Anthony J. Cacciola, Jason R. Callinan,
John E. Callinan, Ryan Callinan, Andy Cazeau,
Michael Cherubino, Philip Chu, Robert J. Ciriello,
Jr., Mark S. Clavette, Robert Clinton, Kristen
Cokely, Agrait Collazo, David Collins, Alexander
Colovos, Omar Corona, Edmund A. Costa, James
Costa, John Crowley, Joseph Crowley, Michael
Daniliuk, Cameron O. Deane, David P. Diamond,
James F. Diggins, Ann DiMascio, Kevin A. Donofrio,
Mark Donovan, Kevin Dottin, John P. Drewicz, Jr.,
Sarah Drewicz, Gary Edwards, Stephen K. Edwards,
James Ferreira, Carlos R. Figueroa, Jr., Sean
Figueroa, David J. Fimiani, Joseph T. Flynn,
Michael Foustoukos, Kyle Galuski, David M.
Gamble, Thomas Gaudette, Christine Gilbertson,
Anthony Grassi, Joseph G. Grassi, Matthew A.
Grassi, James Greene, Frank Greenidge, Frank
Gutoski, Lucas Harney, Andrew M. Hepner, Jr.,
Michael J. Hinds, Lawrence Hudson, Brian Hussey,
Shawn L. Ivey, Jerry Jean-Baptiste, Carl J. Jones,
John Jones, Donyell Joseph, Calvin Kantor, Jr.,
Joseph Kelley, Steven Kelly, Stephen W. Kervick,
Ashley Kmiec, Craig Labastie, Frank Lange, Julio
Laracuente, David Lee, Michael LeVecque, Christine
Levesque, Loyd Lewis, Michael Logan, Gustavo
Lopez, Sean Lowe, Donald W. Lucey, William
Macedo, Matthew Mahoney, Daniel Marshall, Dennis
V. Marshall, Jr., Jonathan Martins, Katie Masse,
Casimir Maziarz, Catherine McCarthy, Daniel
McGinty, Liam McMahon, Charles McNeeley, Daniel
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McNeil, Charles J. McNeill, Jr., Kevin Medeiros,
Melissa Miceli, Michael Miceli, Hercot L. Miller,
Nicholas J. Mochi, Jr., David Moldonado, Pamela
Morris, Michael R. Morrissey, Kenneth Mui, Janie
Munro, Steven R. Murphy, Douglas G. Murrell,
Brian Mushlin, Louis I. Neal, Peter N. Neal, Michael
Neil, Michael D. Nickerson, Alfred Nicotra, Sean P.
Norton, Timothy F. O'Brien, Brian O'Connor,
Brendan O'Hearn, Oswaldo R. Ortiz, Nicole Pacheco,
Ivelise Padgett-Pino, Michael E. Padua, Peter
Photopoulos, Carl Pilgrim, Raymond Pina, Jr., John
Poirier, Christopher Ponte, David Porter, William
Porter, Kenel Prinston, Brian M. Pugliares, Lee
Vieira Resendes, Marlon Rivera, Jonathan Russell,
Christopher A. Samuel, Anthony J. Santiago, Che
Santos, Michael Schwartz, William C. Simmons, Jr.,
Mark E. Smith, Matthew Sousa, Christopher T.
Sullivan, Kathleen Sullivan, Lester J. Sullivan,
Benny Szeto, David Szeto, George Tavares, Michael
Taylor, Sean P. Tienney, Andrew Topouzoglou, Peter
Vellucci, Hector M. Vicente, Edward Watson,
Thomas Watson, Steve Wenzel, Buckowe Yam,

            Plaintiffs
                                                       USDC Case No. 1:18-cv-10980
     v.

City of Cambridge,

            Defendant


                                 COMPLAINT

                               INTRODUCTION

      1.    The Plaintiffs—Lead Plaintiff Victor A. Martignetti and the 173

other individuals listed infra at ¶2—are current and former police officers who

are or were employed by the City of Cambridge, Massachusetts for all or a

portion of the period between May 15, 2015 through the date the complaint




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was filed on May 15, 2018. This group of individuals shall be referred to

hereinafter as “Plaintiffs.”

      2.     The 173 additional Plaintiffs referenced supra at ¶1 are as follows:

David G. Albert, Keith Albert, Asif Ali, Steven S. Allen, Carlos Aquino, Antonio

J. Arcos, David A. Atherton, Angel E. Barbosa, David Barkhouse, Paul

Bentubo, Reynaldo A. Benzan, Stephen E. Bikofsky, Donald B. Bombino,

Michael Bonilla, Christopher J. Borum, Brian P. Branley, Kevin F. Branley,

Devon G. Brooks, James M. Brown, Richard Brown, Paul Burke, Steven Burke,

Daniel P. Burroso, Eugene M. Bustillo, Joshua Buxbaum, Oral J. Bynoe,

Jarred Cabral, Anthony J. Cacciola, Jason R. Callinan, John E. Callinan, Ryan

Callinan, Andy Cazeau, Michael Cherubino, Philip Chu, Robert J. Ciriello, Jr.,

Mark S. Clavette, Robert Clinton, Kristen Cokely, Agrait Collazo, David Collins,

Alexander Colovos, Omar Corona, Edmund A. Costa, James Costa, John

Crowley, Joseph Crowley, Michael Daniliuk, Cameron O. Deane, David P.

Diamond, James F. Diggins, Ann DiMascio, Kevin A. Donofrio, Mark Donovan,

Kevin Dottin, John P. Drewicz, Jr., Sarah Drewicz, Gary Edwards, Stephen K.

Edwards, James Ferreira, Carlos R. Figueroa, Jr., Sean Figueroa, David J.

Fimiani, Joseph T. Flynn, Michael Foustoukos, Kyle Galuski, David M. Gamble,

Thomas Gaudette, Christine Gilbertson, Anthony Grassi, Joseph G. Grassi,

Matthew A. Grassi, James Greene, Frank Greenidge, Frank Gutoski, Lucas

Harney, Andrew M. Hepner, Jr., Michael J. Hinds, Lawrence Hudson, Brian

Hussey, Shawn L. Ivey, Jerry Jean-Baptiste, Carl J. Jones, John Jones,

Donyell Joseph, Calvin Kantor, Jr., Joseph Kelley, Steven Kelly, Stephen W.


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Kervick, Ashley Kmiec, Craig Labastie, Frank Lange, Julio Laracuente, David

Lee, Michael LeVecque, Christine Levesque, Loyd Lewis, Michael Logan,

Gustavo Lopez, Sean Lowe, Donald W. Lucey, William Macedo, Matthew

Mahoney, Daniel Marshall, Dennis V. Marshall, Jr., Jonathan Martins, Katie

Masse, Casimir Maziarz, Catherine McCarthy, Daniel McGinty, Liam McMahon,

Charles McNeeley, Daniel McNeil, Charles J. McNeill, Jr., Kevin Medeiros,

Melissa Miceli, Michael Miceli, Hercot L. Miller, Nicholas J. Mochi, Jr., David

Moldonado, Pamela Morris, Michael R. Morrissey, Kenneth Mui, Janie Munro,

Steven R. Murphy, Douglas G. Murrell, Brian Mushlin, Louis I. Neal, Peter N.

Neal, Michael Neil, Michael D. Nickerson, Alfred Nicotra, Sean P. Norton,

Timothy F. O'Brien, Brian O'Connor, Brendan O'Hearn, Oswaldo R. Ortiz,

Nicole Pacheco, Ivelise Padgett-Pino, Michael E. Padua, Peter Photopoulos, Carl

Pilgrim, Raymond Pina, Jr., John Poirier, Christopher Ponte, David Porter,

William Porter, Kenel Prinston, Brian M. Pugliares, Lee Vieira Resendes, Marlon

Rivera, Jonathan Russell, Christopher A. Samuel, Anthony J. Santiago, Che

Santos, Michael Schwartz, William C. Simmons, Jr., Mark E. Smith, Matthew

Sousa, Christopher T. Sullivan, Kathleen Sullivan, Lester J. Sullivan, Benny

Szeto, David Szeto, George Tavares, Michael Taylor, Sean P. Tienney, Andrew

Topouzoglou, Peter Vellucci, Hector M. Vicente, Edward Watson, Thomas

Watson, Steve Wenzel, Buckowe Yam.

      3.    Each of the Plaintiffs is or was an “employee” within the meaning

of both federal and state wage and hour laws, as follows:




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             (A)     Section 203(e) of the Fair Labor Standards Act of 1938,

                     as amended, 29 U.S.C. § 201 et seq. (“FLSA”); and,

             (B)     General Laws chapter 149, sections 148, 150

                     (Massachusetts “Wage Act”).

      4.     The Defendant in this action is the City of Cambridge,

Massachusetts (hereinafter “City”).

      5.     The City is an “employer” within the meaning of Section 203(b) of

the FLSA, as amended, 29 U.S.C. §201 et seq.; and “a person having

employees in his service” and “employer” within the meaning G. L. c.149, §§

148, 150.

      6.     By this complaint Plaintiffs seek unpaid overtime wages as well as

“liquidated damages” under the FLSA; unpaid overtime wages and “treble

damages” under the Massachusetts Wage Act; plus attorneys fees, costs

incurred in this action, and other applicable relief under both the FLSA and

Massachusetts Wage Act; all for the period May 15, 2015 through the date the

complaint was filed on May 15, 2018.

      7.     On May 15, 2018 the undersigned law firm of McDonald Lamond

Canzoneri filed a complaint with the Massachusetts Attorney General pursuant

to G. L. c. 149, § 150 on behalf of the Plaintiffs for failure to pay overtime as

required by the Massachusetts Wage Act. This is sufficient to authorize the

Massachusetts Wage Act claim set forth in Count II and Count III. Plaintiffs

will furnish the Right to Sue letter issued by the Attorney General forthwith

upon its issuance.


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                                 JURISDICTION

      8.     Jurisdiction over this action is conferred on the court for the FLSA

claim by 29 U.S.C. § 216(b) and 28 U.S.C. §§ 1331, 1337; and for the

Massachusetts Wage Act claim by G. L. c.149, § 150, as well as the federal

supplemental jurisdiction statute 28 U.S.C. § 1367(a).

      9.     This court is the proper venue for this action pursuant to 28

U.S.C. §1391(b).


                            FACTUAL BACKGROUND

      10.    At all times relevant, Plaintiffs worked one of two regular

schedules:

      A.     Plaintiffs assigned to the Patrol Division worked a so-called “4-2”

             schedule that consisted of a recurring pattern of four consecutive

             days working an eight hour and twenty minute (8.33 hours) shift,

             followed by two days off (hereinafter the “4-2 schedule”).

      B.     Plaintiffs assigned to other divisions of the police department

             worked regular schedule pattern referred to as a “5-2” schedule

             that consisted of working five consecutive days on duty followed by

             two days off duty (“5-2 schedule”). Of Plaintiffs that worked a 5-2

             schedule, those assigned to the Selective Enforcement Division

             (Traffic) worked eight hour and twenty minute (8.33 hour) shifts;

             and those assigned to other areas such as the Investigations

             (Detectives), Off-Duty Employment (Details), Academy/Training,



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            Records/Property, Court Prosecutor, and Community Relations

            worked eight hour (8.00 hour) shifts.

      11.   Plaintiffs who worked the 4-2 schedule and 5-2 schedule were

compensated for 1946.56 hours of the total hours they worked pursuant to

their regularly scheduled hours. The 1946.56 hours of pay constituted:

      A.    compensation for the total hours performed by Plaintiffs that

            worked eight hour (8.0 hour) shifts pursuant to their annual

            regularly scheduled hours; and

      B.    compensation for about 80 hours less than the total hours worked

            by Plaintiffs that worked eight hour and twenty-minute (8.33 hour)

            shifts, since twenty minutes of each shift of that duration was not

            compensated.

      12.   Plaintiffs were paid four elements of compensation that were

intended to compensate Plaintiffs for working 1946.56 hours of the total hours

they worked per year pursuant to their regular 4-2 or 5-2 schedule, referred to

herein collectively as “ANNUAL BASE PAY,” as follows:

      A.    annual salary;

      B.    education incentive pursuant to M.G.L. Chapter 41, §108L,

            referred to as “Quinn Bill” incentive, computed as a percentage of

            annual salary depending on the level of the degree in law

            enforcement, including 10% for an Associate Degree or 60 points

            earned towards a Baccalaureate Degree; 20% for a Baccalaureate

            Degree; and 25% for a Master’s Degree or Law Degree;


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      C.    career incentive for Plaintiffs who did not qualify for the education

            incentive described in this averment at paragraph "B" above, but

            who were employed with the City for the requisite years, or for

            Plaintiffs when the career award was higher than the education

            incentive. The City paid the career incentive to Plaintiffs based

            upon their years of service in an amount ranging from 1.39% to

            15% of annual salary; and,

      D.    for Plaintiffs who had more than five (5) years of service, a Master

            Patrol Officer (“MPO”) Differential, each workweek in a dollar

            amount equal to 3.168% of the 4th step patrol officer base weekly

            salary in effect that workweek.

      13.   In addition to ANNUAL BASE PAY described supra at ¶12, the City

paid Plaintiffs at least ten additional wage augments, also intended to

compensate them for working 1946.56 hours of the total hours they worked per

year pursuant to their regular 4-2 or 5-2 schedule, hereinafter referred to as

"WAGE AUGMENTS," as follows:


      (a)   Night Shift Differential. The City paid Plaintiffs who regularly

            worked the night shift a weekly stipend that was equal in dollar

            amount to seven percent (7%) of the 4th step patrol officer weekly

            salary in effect that workweek.

      (b)   Weapons Familiarization Differential. The City paid Plaintiffs a

            yearly stipend in a dollar amount equal to 1.785% to 3.5% of the

            4th step patrol officer base annual salary in effect from time to time
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      for weapons familiarization. The City paid weapons familiarization

      pay in two (2) equal installments on July and January of each

      year.

(c)   Hazardous Duty Pay. The City paid Plaintiffs hazardous duty pay,

      each month, in a dollar amount equal to 7.794% to 11.25%of the

      4th step patrol officer base annual salary rate in effect in the month

      it was paid.

(d)   Attendance Incentive. For Plaintiffs that do not use a single sick

      day, leave of absence, or other unpaid status in any six (6) month

      period measured from January through June, and July through

      December, of each year, Plaintiffs receive compensation of $300.

(e)   Weekend Differential. The City paid Plaintiffs who regularly work

      on Saturday and/or Sunday a weekend differential, each week, in

      a dollar amount equal to four percent (4%) of the 4th step patrol

      officer base weekly salary rate in effect in that workweek.

(f)   Emergency Medical Technician Differential. The City paid to

      Plaintiffs who were certified as an emergency medical technician

      (EMT) an annual EMT Differential in the amount of $350. The City

      paid the EMT differential in a lump sum payment on the Plaintiff’s

      first payday in June of each year.

(g)   Specialist Differential. The City paid the Plaintiffs who were

      assigned to the detail room an annual specialist differential of

      $5,500.


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      (h)   Monday-Friday Shift Differential. The City paid a shift differential,

            each week, in a dollar amount equal to 1.397% of the 4th step

            patrol officer base weekly salary in effect that workweek for

            Plaintiffs regularly scheduled on the day shift Monday through

            Friday, and assigned to any one of the following areas: (a) the

            Selective Enforcement Unit; (b) the Administrative Section, which

            includes the Off-Duty Employment, Academy Training,

            Records/Property, and Court Prosecutor; (c) the Investigation

            Section, which includes, Vice/Narcotics, General Assignment,

            Sexual Assault, and Warrant Unit; and (d) Community Relations.

      (i)   Duty Differential. The City paid to Plaintiffs regularly assigned as

            Booking Officer, Station Relief, Wagon Officer, or Clerk on a four

            (4) shift basis weekly a Duty Differential in the amount of up to

            $50/week.

      (j)   Sexual Assault On-Call Differential. The City paid to Plaintiffs

            within the Investigations Section on a weekly rotational basis an

            sexual assault on-call differential to respond to incidents of sexual

            assault. The City paid the sexual assault on-call differential in an

            amount equal to $100 for each weekly on-call assignment.

      14.   The City also paid officers a special rate of pay referred to as a

“detail rate.” The “detail rate” was a non-premium, straight time rate of pay

that is separate and distinct from the non-premium, straight time hourly rate




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paid to officers that comprises their ANNUAL BASE PAY and WAGE

AUGMENTS described supra at ¶¶12–13.

      15.   The detail rate was paid for work that Plaintiffs performed that is

categorized for purposes of this complaint as “Private Details” and “City

Details” as described infra at ¶¶16-17, and is exclusive of the regular police

work that Plaintiffs performed pursuant to their regular 4-2 or 5-2 schedule.

      16.   Private Details. The detail rate was paid for situations when a

private vendor was performing work that required monitoring for public safety

and/or traffic control by a police officer, such as a telephone company, electric

company, gas company, or private construction company, performing work

that impacted traffic on public streets. The City charges the vendors an

administrative fee for such details. These details are referred to herein as

“Private Details,” and are subject to the following control measures

implemented by the City, as follows:

            (a)   The City maintains a policy governing the behavior of police

                  officers while working Private Details, City of Cambridge

                  Police Department Detail Policy (“Detail Policy”), which

                  provides that “Police Officers performing paid police details

                  for the Cambridge Police Department shall be subject to all

                  the Rules and Regulations of the Cambridge Police

                  Department and shall be answerable for the same in their

                  entirety.”




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             (b)    The Detail Policy provides that the City may discipline police

                    officer for their actions while on Private Details if they violate

                    City policies and work rules.

             (c)    The Detail Policy also mandates what time officers must

                    report to Private Details, as well as that they adhere to the

                    City’s uniform policy.

      17.    City Details. The detail rate was also paid for situations when City

workers, or a vendor hired by the City, performed work that required

monitoring for public security, safety and/or traffic control by police officers.

The City does not charge an administrative fee for its own details. These types

of details are referred to herein as “City Details,” examples of which include the

following:

      (a)    when employees from the City’s Department of Public Works,

             Highway Division, Water and Sewer Division performed work on a

             road (e.g., repair, non-emergency snow removal that requires

             traffic control);

      (b)    when the School Department required a police officer for public

             security, safety and/or traffic control for high school sporting

             events such as football games, basketball games, or non-sporting

             school event such as graduation;

      (c)    P. Gioioso & Sons, Inc., Hyde Park, MA (water mains, utility

             construction for municipality); Newport Construction Corporation,

             Nashua, NH (water mains, side walks, roads); Barletta Heavy


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              Division, Inc. and/or Barletta Engineering Corporation, Canton,

              MA (water mains, roads, side walks); Rapid Flow Inc., Revere, MA

              (sewer); JNJ Sacca, Inc., Arlington, MA (hydrants, water mains);

              Bartlett Tree Experts, Waltham, MA (Multiple Offices) (tree work);

              and Cambridge Landscape Co. Inc., Cambridge, MA (landscaping,

              tree work).

      18.     When Plaintiffs perform regular police work for which they were

paid their annual base rate, and City details, they were performing work on

behalf of the City. Hereinafter the expression “work(ed) on behalf of the City”

includes such regular police work and City Details.

      19.     From May 15, 2015 through the date the complaint was filed on

May 15, 2018, and thereafter, Plaintiffs worked on behalf of the City in excess

of 40 weekly hours in or more workweeks.

      20.     Plaintiffs were paid premium compensation referred to as

"overtime" when they performed regular police work in excess of 40 hours in a

7-day work period, excluding: (a) Private or City Details of up to eight hours in

duration for which overtime was not paid; and (b) for shifts of a duration of

eight hours and twenty minutes (8.33 hour), no compensation paid for up to 20

minutes of work performed beyond 8 hours of work performed. Where overtime

was paid, it was routinely paid more than seven days after the week in which it

was earned.

      21.     The City did not count City Details as hours worked on behalf of

the City, and did not pay overtime to the extent that a Plaintiff worked in


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excess of 40 hours in a 7-day work period as a result of working City Details of

up to eight hours in duration.

      22.   In calculating the overtime rate paid to Plaintiffs for regular police

work performed in excess of 40-hours in a 7-day work period, the City divided

each Plaintiff’s ANNUAL BASE PAY by 2,080 hours to find an hourly rate, and

then multiplied such hourly rate by 1.5 to find each Plaintiff’s overtime rate.

      23.   By dividing the ANNUAL BASE PAY by a denominator of 2080

hours rather than 1946.56 hours, the City divided the ANNUAL BASE PAY by a

denominator that was higher than the actual number of hours per year that

the ANNUAL BASE PAY was intended to compensate; this resulted in the City

paying an overtime rate that was lower than if the ANNUAL BASE PAY was

divided by the true number of hours that the ANNUAL BASE PAY was intended

to compensate of 1946.56 hours per year.

      24.   In computing the overtime rate, the City only accounted for the

ANNUAL BASE PAY, but excluded all other forms of regular, non-premium,

straight time compensation such as WAGE AUGMENTS described supra at

¶13, and the detail rate paid when Plaintiffs worked City Details described

supra at ¶17.

      25.   The City pays Plaintiffs Private Details and City Details five weeks

after the week in which such compensation was earned.


                                 COUNT I (FLSA)

      26.   With respect to the first count, Plaintiffs incorporate by reference

and re-allege each of the foregoing paragraphs 1-25 as if fully set forth here.
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       27.   The FLSA requires the City to pay Plaintiffs for all work performed

in excess of 40-hours in a 7-day work period “at a rate not less than one and

one-half times the regular rate at which he is employed.” 29 U.S.C. §207(a)

(emphasis added).

       28.   In computing the FLSA “regular rate” and corresponding overtime

rate, the City unlawfully excluded regular compensation that is paid for the

WAGE AUGMENTS described supra at ¶13 and City Details described supra at

¶17.

       29.   In computing the regular rate from the ANNUAL BASE PAY as

described supra at ¶12, the City artificially lowered the FLSA “regular rate” by

unlawfully dividing the ANNUAL BASE PAY by a denominator that is higher

than the ANNUAL BASE PAY is intended to compensate—specifically by

dividing the ANNUAL BASE PAY by the inaccurate figure of 2080 hours per

year rather than the true figure of 1946.56 hours per year that the ANNUAL

BASE PAY was intended to compensate.

       30.   Even though City Details are time worked on behalf of the City and

therefore should be counted as hours worked for the City, the City failed to

account for hours worked by Plaintiffs on City Details in computing total hours

worked and overtime owing to Plaintiffs in the 7-day work period, and paid for

Private Details and City details five weeks after the workweek in which it was

earned.

       31.   Even though Plaintiffs that worked regularly scheduled shifts of a

duration of eight hours and twenty minutes (8.33 hour) were entitled to have


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all time worked on such shift counted toward the total hours worked in the

week, and entitled to be compensated for such time, the City paid Plaintiffs for

only eight hours of such shifts and excluded up to twenty minutes of such shift

from the City's computation of total time worked in a workweek and

compensation paid.

      32.     By the foregoing overtime computation and payment practices, the

City violated the FLSA by willfully and intentionally failing and refusing to pay

Plaintiffs all overtime required by the FLSA from May 15, 2015 through the

date the complaint was filed on May 15, 2018 and thereafter.

                              COUNT II (WAGE ACT)

      33.     With respect to the second count, Plaintiffs incorporate by

reference and re-allege each of the foregoing paragraphs 1-32 as if fully set

forth here.

      34.     Because Plaintiffs were entitled to overtime pay for any weekly

hours worked on behalf of the City in excess of 40 hours pursuant to the FLSA,

and because Plaintiffs completed labor in excess of 40 hours in a 7-day work

period during one or more weeks from May 15, 2015 through the date the

complaint was filed on May 15, 2018 and thereafter, the Plaintiff’s “earned”

those overtime wages under the FLSA.

      35.     Because the City failed to pay these “earned” overtime wages as

required by the FLSA within seven days of the termination of the relevant pay

periods, the City violated G. L. c. 149, §§ 148, 150.




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                            COUNT III (WAGE ACT)

      36.   With respect to the third count, Plaintiffs incorporate by reference

and re-allege each of the foregoing paragraphs 1-35 as if fully set forth here.

      37.   The City routinely paid the following forms of compensation more

than six days after the end of the pay period: (a) City Details and Private

Details, five weeks after the workweek in which it was earned; and (b) with

respect to the "overtime" that the City did pay on an ongoing basis (albeit at a

rate that was less than required by the FLSA), the City paid such "overtime" at

least two or more weeks after the workweek in which it was earned.

      38.   Because the Plaintiffs were entitled to receive their wages within

six days of the end of the pay period pursuant to G. L. c. 149, §§ 148, 150, and

because the City failed to do so, the City violated the timely payment of wages

requirements of G. L. c. 149, §§ 148, 150.

      WHEREFORE, Plaintiffs respectfully request that the Court:

      A.    Order the Defendant, under supervision of Plaintiffs’ counsel or

their designated agents or representatives, to make a complete and accurate

accounting of unpaid overtime compensation owing to each Plaintiff under the

FLSA starting three years prior to the date that the instant complaint was filed

in Federal District Court to the date of judgment.

      B.    Enter a judgment under FLSA Section 216 against Defendant for

payment of back wages for unpaid overtime compensation—plus an equal

amount in liquidated damages—owing to each Plaintiff for the three years prior

to the date that the instant complaint was filed in Federal District Court to the


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date of judgment,1 plus all reasonable attorneys’ fees and costs incurred by

Plaintiffs in prosecuting this FLSA complaint.

      C.    Order the Defendant, under supervision of Plaintiffs’ counsel or

their designated agents or representatives, to make a complete and accurate

accounting of unpaid overtime compensation owing to each Plaintiff under G.

L. c. 149, §§ 148, 150 starting three years prior to the date that the instant

complaint was filed in Federal District Court to the date of judgment.

      D.    Enter a judgment under G. L. c. 149, §§ 148, 150 against

Defendant for payment of unpaid, earned compensation—plus an equal

amount in treble damages—owing to each Plaintiff for the three years prior to

the date that the complaint was filed in Federal District Court to the date of

judgment, plus all reasonable attorneys’ fees and costs incurred by Plaintiffs in

prosecuting the Massachusetts Wage Act claim.

      E.    Enter a judgment under G. L. c. 149, §§ 148, 150 against

Defendant for 12% statutory interest, per G.L. c. 231, § 6C,

for earned compensation that was (i) earned during the three years prior to the

date that the instant complaint was filed in Federal District court, (ii) paid more

than 6 days following the end of the workweek in which it was earned, and (iii)

paid prior to the date that the complaint in this matter was filed. Interest shall

be computed at 12% from the date that compensation should have been paid,



1      Assuming arguendo that no liquidated damages are held owing for any
portion of the backpay liability—and Plaintiffs in no way concede that point—
Plaintiffs then respectfully request that the Court enter a judgment against
Defendant for prejudgment statutory interest on all such amounts.
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to the date it was eventually paid, plus two times the 12% interest owing

pursuant to the treble damages provisions of the Massachusetts Wage Act,

plus all reasonable attorneys’ fees and costs incurred by Plaintiffs in

prosecuting the Massachusetts Wage Act claim.

      F.    Enter orders and judgments as may otherwise be a just and proper

to remedy the Defendant’s unlawful violations of the statutes relayed above.

                                      Respectfully submitted,

                                      On behalf of the Plaintiffs,

                                      By Plaintiffs’ Counsel:

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Dated: May 15, 2018




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